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                GRAVEYARD is first shift of the day
                   (Starts at 12:00 midnight)

12:00 am   Shift exchange with swing shift

12:15 am   Read log back to last time worked. Read observation and
           med logs.

12:30 am   Put out a new Shift Exchange Page and Client Tracking
           Page. Fill out the Outside Appointment Tracking sheet for
           the next day. Go through the Privilege Forms and Child
           Visit Forms (orange papers in the second folder of the
           hanging file holder behind the computer on the TA desk)
           and each client’s In and Out (check the front and back of
           each page), and write down each time a client will be
           leaving the building and where she is going.
           Some of the commonly used abbreviations are:
           CP – child pass
           CVH – child visit here
           CVA – child visit away
           SP – spiritual pass
           FP – family pass
           PP – peer pass
           Spon – Sponsor
           Ment - Mentor

1:00 am    Put in house laundry and put out coffee, cereal, cream, and
           milk for the morning.

1:30 am    Room check. Come back and record on tracking sheet.
           Make sure every client and child are on the tracking sheet.
           Enter NP and P on accountability sheets.

2:00 am    15 minute break if no clients have needs.

2:15 am    Put laundry in the dryer.

3:00 am    Get med forms and ROIs ready for clients going to the
           doctor. Attach the ROI to the med form.




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3:15 am    Take out laundry, fold, match sets, and place on counter

3:30 am    2nd room check (random)

4:00 am    Eat lunch if no clients have needs

4:30 am    Make copies of various forms when needed.

5:00 am    Put out breakfast sheet (found in the top drawer of the file
           cabinet).

5:00 am    Med-line starts

5:45 am    15 min break if no clients have needs.

6:30 am    Check clients out for morning meetings and children out for
           daycare (during the week).

6:45 am    Continue giving meds/ Tracking Sheet

7:45am     Do shift exchange with Day Shift

8:00 am    Go home




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                            Shift Duties
                            Monday-Friday Day Shift
                             6:30 a.m. -3:00 p.m.

Completed?       Time                                        Task
                             Clock in, read Daily Log. Shift exchange with graveyard shift –
                6:30a        review Transports tab on the Daily Log. Check clients out for
                             daycare. One TA start med line.
                7:15a        Smoke Break

                By 8a        Check clients’ movies back in

              7:45a-8:15a    Check clients back in from daycare
                             Clients in group. Pick up Breakfast Sheet from the kitchen and log
                8:30a        into Staff Accountabilities. One TA sit in on group and complete
                             point sheet when possible.
                  9a         Client Tracking. Transports as needed

                9:30a        Smoke Break

                 10a         Take mail out
                             Group. One TA sit in on group and complete point sheet when
                 10a
                             possible.
                11:25a       Announce childcare closing for lunch

              11:30-1 pm     Clients’ lunch. Client tracking

                 12p         Thur. Smoke Break

                12:15p       Mon. Wed. Fri. Smoke Break

                12:30p       Tue. Smoke break

              12a-12:30p     Friday Turning Point

              12:30p-1p      Mon, Tue, Wed Turning Point

             12:15p-3:30p    Groups

                2:30p        Shift exchange. Thurs Care Team Huddles 2-3:30 pm

                  3p         Clock Out




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                           Shift Duties
                               Duties throughout the day
•   Check clients in and out for Appointments/Passes they have planned for the day.
•   Medication line and PRNs
•   Complete 1-2 of the scheduled UA’s
•   For intakes: Do UA, search all belongings. Prepare accountability, laundry day, and
    movie night ready for new client
•   Check email and daily log at beginning of shift
•   Transport clients to appointments as needed. See transport log
•   Room Checks w/two staff (quick visual of room) and log in point sheet book




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                           Shift Duties
                         Saturday-Sunday Day Shift
                               6:30am – 3:00pm
Completed?                 Time                                 Task
                   6:30a                 Clock in, read Daily Log. Shift exchange with
                                         graveyard shift – review Transports tab on the
                                         Daily Log. One TA start med line.
                   7:15a                 Smoke Break
                   By 8a                 Check clients’ movies back in
                   9a                    Client Tracking
                   9:30a                 Smoke Break
                   9:45a-10:45a          Weekend craft group (second Saturday of each
                                         month)
                   10a                   Take mail out. Staff supported shopping trip
                   11:30a-12p            Clients’ brunch. Client Tracking. Participate in
                                         and transport any Saturday event
                   12p                   Smoke Break
                   12a-12:30p            Saturday Turning Point
                   12:30p-2:30p          Quiet Time - All clients need to be in room or
                                         engaging in a quiet activity *******
                   2:30-3:00p            Shift exchange
                   3pm                   Clock Off


                             Duties throughout the day
•   Check clients in and out for Appointments/Passes they have planned for the day.
•   Medication line and PRNs
•   Complete 1-2 of the scheduled UA’s
•   Transport clients to appointments as needed. See transport log
•   Check email and daily log at beginning of shift
•   Room Checks w/two staff (quick visual of room) and log in point sheet book
•   Coordinate w/case manager and counselor for any scheduled Saturday community events




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              Shift Duties




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                                Shift Duties
                               Monday-Friday Swing Shift
                                      2:30pm – 11:00pm
Completed?              Time                                            Task
             2:30p                     Clock in, read Daily Log. Shift exchange with graveyard shift –
                                       review Transports tab on the Daily Log.
             3p                        Client Tracking
             3:30p                     Smoke Break
             2:45p or 4p               Check Clients Out For Daycare.
             4:30p-5:15p               Dinner
             5p                        Mail List goes up
             5p-6:30p                  Cell phones
             5:30p                     Thur. Turning Point
             6p                        Smoke break
             6p                        Clients who earned movie night can pick 2 movies. Track client store
                                       purchases.
             6:30p                     Pull sanitation, accountabilities and chore list. After chore checker
                                       has checked chores and given you sheet, record all pass and no pass in
                                       accountability book and then transfer to client accountability sheets.
                                       Put accountability sheets in client mail boxes after clients have gone
                                       to bed.
             6:30p-8:30p               Med Line
             7:15p                     Tue. Fri. Smoke Break
             7:30p                     Mon. Thur. Smoke Break
             7:30p                     Client Tracking and Quiet time
             8p                        All doors and windows need to be checked, to include basement. Turn
                                       on the alarm. Open back door to see if alarm goes off, if alarm is not
                                       working, unplug the monitor for 1 to 2 hours. Lock up the house.
             8:10p                     Wed. Smoke Break
             8:30p                     All Clients need to be in their rooms
             9p-10p                    Finish up paper work – Clients copy of accountability needs to be put
                                       in their box in the mail room


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                           Shift Duties
                                 The in-box in the TA office (on top of the file cabinet) needs to be
                                 emptied
    10p                          Client Tracking
    10p-11p                      If Payless delivers meds, the meds need to be logged and put away
                                 IMMEDIATELY. They cannot be left out in the TA office
    10:30-11:00p                 Shift exchange and Clock Out


                               Duties throughout the day
•    Check clients in and out for Appointments/Passes they have planned for the day.
•    You will also Give Clients Meds
•    UA Need to get done.
•    We transport when need.
•    Check Emails When Possible.
•    Clients and staff will be turning in paper work for FTA’s to do something with.




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                             Shift Duties
                           Saturday-Sunday Swing Shift
                                 2:30pm – 11:00pm
Completed?         Time                                        Task
             2:30p           Clock in, read Daily Log. Shift exchange with graveyard shift – review
                             Transports tab on the Daily Log.
             3p              Client Tracking
             3p              Smoke Break
             3p-4:30p        Cell Phones
             4:30p-5:15p     Dinner
             5p              Mail List goes up
             5:30p           Sun. Turning Point
             6p              Smoke break
             6p              Clients who earned movie night can pick 2 movies
             6:30p           Pull sanitation, accountabilities and chore list. After chore checker has
                             checked chores and given you sheet, record all pass and no pass in
                             accountability book and then transfer to client accountability sheets.
                             Put accountability sheets in client mail boxes after clients have gone to
                             bed.
             6:30p-8:30p     Med Line
             7:15p           Sun. Smoke Break
             7:30p           Sat. Smoke Break
             7:30p           Client Tracking and Quiet time
             8p              Turn on the alarm. Open back door to see if alarm goes off, if alarm is
                             not working, unplug the monitor for 1 to 2 hours. Lock up the house.
                             (There is a lock up sheet on top of bookcase) Sat Place next week
                             accountabilities in mail box as well.
             8:30p           All Clients need to be in there room
             9p-10p          Finish up paper work Sun. Take all there paper work out of there
                             folders, except meeting attendance if not full, staple each client’s
                             together and file under their name in file cabinet.
             10p             Client Tracking
             11p             Shift exchange and Clock Out




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                           Shift Duties
                                Duties throughout the day
•   Check clients in and out for Appointments/Passes they have planned for the day.
•   You will also Give Clients Meds
•   UA Need to get done. Family pass UA’s
•   We transport when need.
•   Check Emails When Possible.
•   Clients and staff will be turning in paper work for FTA’s to do something with.



1. Swing shift on SUNDAY evening need to take each clients paperwork for that week out
   of their folder and staple it together and file under each clients name in the small file
   cabinet.
2. The only piece of paper to be left in their folder should be their purple meeting slip if it
   is not full.
3. The in/outs for the next week need to be now put in each clients folder. These in/outs
   should be in a binder that says "planning."




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                                        Shift Duties
                                      GRAVEYARD Monday-Sunday
                                            10:30pm – 7:00am

Completed?        Time                                               Task
             10:30p       Clock in, read Daily Log. Shift exchange with graveyard shift – review Transports tab on
                          the Daily Log.
             12:30a       Fill out the outside appointment tracking sheet for the next day. Go through each client’s
                          In and Out and Child Visit Forms (orange papers in the second folder of the hanging file
                          holder behind the computer on the TA desk) and put down each time a client will be
                          leaving the building and where she is going.
             1a           Put in house laundry and put out coffee cereal and juice for the morning. Put out breakfast
                          sheet (found in the top drawer of the file cabinet).
             1a-2a        Payless might drop off med to be logged and put in med cabinet.

             1:30 a       Room check. Come back and record on tracking sheet. Make sure every client and child
                          are on the tracking sheet. Enter NP and P on accountability sheets for child in bed.
             2a           15 minute break if no clients have needs.

             2:15a        Laundry

             3a           Write down the next day’s UAs and get med forms and ROIs ready for clients going to the
                          doctor.
             3:15a        Take out laundry, fold, and put away.

             3:30a        2nd room check (random)

             4:00a        Eat lunch if no clients have needs

             4:30a        Make copies of various forms when needed in file cabinet.

             5a           Med-line starts

             5:45a        15 min break if no clients have needs

             6a           Check clients out for morning meetings and children out for daycare (during the week).

             6:30a        Shift exchange with Day Shift

             7:00a        Clock out


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                       Shift Duties
                           Duties throughout the day
    •   We can take Shredding papers back to 117
    •   Clients might need to go to ER or have babies. We get there paper ready and
        send them in a cab and let on-call




                                                               Exhibit L, Page 12
